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      ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
      · · · · · · · · · ·WESTERN DISTRICT OF MICHIGAN
      ·2· · · · · · · · · · · SOUTHERN DIVISION

      ·3· ·D.L.; K.S.F.; and K.B.,
      · · ·by and through her parent
      ·4· ·and next friend H.B.,

      ·5· · · · · · · · · Plaintiffs,· · · · Case No. 22-cv-00838
      · · ·vs.
      ·6· · · · · · · · · · · · · · · · · · ·Hon. Robert J. Jonker
      · · ·MICHIGAN DEPARTMENT OF
      ·7· ·EDUCATION,· · · · · · · · · · · · Mag. Phillip J. Green

      ·8· · · · · · · · · Defendant.
      · · · · · · · · · · · · · · · · · ·/
      ·9

      10· · · · · DEPOSITION OF DONQUARION L.D. LEWIS

      11· · · · · Taken by the Defendant at 251 N. Rose Street,

      12· ·Suite 200, Kalamazoo, Michigan, on Tuesday, March 5,

      13· ·2024, commencing at 10:07 a.m.

      14· ·APPEARANCES:

      15· ·For the Plaintiffs: MS. ERIN H. DIAZ (P80388)
      · · · · · · · · · · · · ·MR. MITCHELL D. SICKON (P82407)
      16· · · · · · · · · · · ·DISABILITY RIGHTS MICHIGAN
      · · · · · · · · · · · · ·4095 Legacy Parkway
      17· · · · · · · · · · · ·Lansing, Michigan 48911
      · · · · · · · · · · · · ·517-487-1755
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      25· · · · · (Appearances Continued on Page 2.)



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     ·1· · · · remind you that Carl is transcribing everything that we          ·1· ·A.· ·Rent.
     ·2· · · · are discussing.                                                  ·2· ·Q.· ·Who pays the rent there?
     ·3· ·A.· ·Okay.                                                            ·3· ·A.· ·Her.
     ·4· ·Q.· ·So it's important that when you respond to my questions          ·4· ·Q.· ·How about the utilities?
     ·5· · · · you answer clearly.                                              ·5· ·A.· ·I don't know how it break down, but I know it round up
     ·6· ·A.· ·Okay.                                                            ·6· · · · around 780.
     ·7· ·Q.· ·Yes or no or I don't know, something to that effect.             ·7· ·Q.· ·Who pays that utility bill?
     ·8· · · · But no head nods or uh-huh (affirmative).                        ·8· ·A.· ·Her.
     ·9· ·A.· ·Okay.                                                            ·9· ·Q.· ·Who pays for the food for the household?
     10· ·Q.· ·And moving forward if I hear that I may ask you to just          10· ·A.· ·Her.
     11· · · · repeat your answer or clarify it.                                11· ·Q.· ·Do you pay any of the household bills?
     12· ·A.· ·Okay.                                                            12· ·A.· ·When I am working.
     13· ·Q.· ·Also, since he is trying to take down our conversation           13· ·Q.· ·Are you paying any right now?
     14· · · · it's important that we not speak over each other.· So            14· ·A.· ·Yeah, I pitch in.
     15· · · · when you are speaking I will try not to interrupt you            15· ·Q.· ·When you say pitching in, what does that mean?
     16· · · · and vice-versa.· We want a clean transcript.                     16· ·A.· ·Giving her what I can.
     17· ·A.· ·Okay.                                                            17· ·Q.· ·When is the last time that you were able to give her
     18· ·Q.· ·Do you have any questions about the process or any               18· · · · what you can?
     19· · · · concerns before we get started?                                  19· ·A.· ·Last week.
     20· ·A.· ·No.                                                              20· ·Q.· ·How much did you give her?
     21· ·Q.· ·Have you ever gone by any other names besides the name           21· ·A.· ·Three hundred.
     22· · · · that you gave when you first got on the record?                  22· ·Q.· ·And when was the payment that you made before last
     23· ·A.· ·D.Q.                                                             23· · · · week?
     24· ·Q.· ·D.Q. you said?                                                   24· ·A.· ·No payment.
     25· ·A.· ·Yeah.                                                            25· ·Q.· ·You can't remember?


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     ·1· ·Q.· ·Is that a nickname that you use?                                 ·1· ·A.· ·No payment.
     ·2· ·A.· ·Yeah.                                                            ·2· ·Q.· ·So last week is the first time you helped with the
     ·3· ·Q.· ·And what's your date of birth, D.Q.?                             ·3· · · · household bills since June of '23?
     ·4· ·A.· ·August 20th 2002.                                                ·4· ·A.· ·Yeah.
     ·5· ·Q.· ·Where do you currently reside?                                   ·5·
                                                                                 5· ·Q.· ·And before you moved to this address where did you live
     ·6· ·A.· ·What does that mean?                                             ·6· · · · before that?
      7· ·Q.· ·What's your current address?
     ·7·                                                                        ·7· ·A.· ·With my mom.
     ·8· ·A.· ·1315 Concord Place Drive.                                        ·8· ·Q.· ·And what's that address?
     ·9· ·Q.· ·Is that in Kalamazoo?                                            ·9· ·A.· ·634 Grasshopper, Apartment 321.
     10· ·A.· ·Yes.                                                             10· ·Q.· ·Do you know how many years you lived there?
     11· ·Q.· ·How long have you lived there?                                   11· ·A.· ·Around seven or eight.
     12· ·A.· ·Around June.                                                     12· ·Q.· ·Is that seven or eight years?
     13· ·Q.· ·Since June of 2023?                                              13· ·A.· ·Yeah.
     14· ·A.· ·Yeah.                                                            14· ·Q.· ·And who else lived there besides you and your mom?
     15· ·Q.· ·Who lives there with you?                                        15· ·A.· ·My siblings.
     16· ·A.· ·My girlfriend.                                                   16· ·Q.· ·Your siblings you said?
     17· ·Q.· ·And what's your girlfriend's name?                               17· ·A.· ·Yeah.
     18· ·A.· ·Dashayla (ph).                                                   18· ·Q.· ·How many siblings do you have?
     19· ·Q.· ·And what's her last name?                                        19· ·A.· ·Four.
     20· ·A.· ·Stanley.                                                         20· ·Q.· ·And what are their names?
     21· ·Q.· ·Anyone else live in that house?                                  21· ·A.· ·Kayana (ph), DeMaya (ph), DeMont (ph) and DeMir (ph).
     22· ·A.· ·No.                                                              22· ·Q.· ·Do you know how old they are?
     23· ·Q.· ·Who owns that house?                                             23· ·A.· ·Kayana, she just turned 20 last month; DeMaya, she 14;
     24· ·A.· ·Her.                                                             24· · · · DeMont, he 13; and DeMir, six.
     25· ·Q.· ·Does she rent the house or does she own it outright?             25· ·Q.· ·And why did you move out from your mom's house in with



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     ·1· · · · your girlfriend?                                              ·1· ·A.· ·Yeah.
     ·2· ·A.· ·It was a lot.· Me getting older and sleeping with my          ·2· ·Q.· ·From what you can remember?
     ·3· · · · siblings, and I didn't really like that too much.             ·3· ·A.· ·Yeah.
     ·4· ·Q.· ·And when you say it was getting to be a lot, what do          ·4· ·Q.· ·I am going to ask you about your reading disability.
     ·5· · · · you mean?                                                     ·5· · · · Do you remember when you were diagnosed with that
     ·6· ·A.· ·I wasn't working when I was with my mom, so it was like       ·6· · · · disability?
     ·7· · · · I was really just sitting around.                             ·7· ·A.· ·I don't know when I was diagnosed, but I know I had a
     ·8· ·Q.· ·Did she ask you to leave?                                     ·8· · · · reading disability growing up.· When I talked to
     ·9· ·A.· ·No.                                                           ·9· · · · Dr. Owens she really sat down with me and like
     10· ·Q.· ·Does your mom have a partner that lives in the                10· · · · explained what it means and stuff to be diagnosed.
     11· · · · household as well?                                            11· ·Q.· ·Do you know how you were diagnosed with a reading
     12· ·A.· ·Yes.                                                          12· · · · disability?
     13· ·Q.· ·And who is that?                                              13· ·A.· ·No.
     14· ·A.· ·Her husband.· His name DeMont.                                14· ·Q.· ·And you just mentioned a doctor's name.· Who is that?
     15· ·Q.· ·How long has she been married to him?                         15· ·A.· ·Dr. Owens.
     16· ·A.· ·I want to say about ten years.                                16· ·Q.· ·Who is Dr. Owens?
     17· ·Q.· ·Have you ever had contact with your father?                   17· ·A.· ·A doctor, I can't recall what type of doctor she was.
     18· ·A.· ·Yes.                                                          18· ·Q.· ·Did she do an evaluation of you?
     19· ·Q.· ·Does he live in Kalamazoo?                                    19· ·A.· ·Yes.
     20· ·A.· ·Yes.                                                          20· ·Q.· ·Do you remember when that was?
     21· ·Q.· ·Did you ever live with him growing up?                        21· ·A.· ·Yes.
     22· ·A.· ·No.· He was in prison since I was like 13, but when he        22· ·Q.· ·When was that?
     23· · · · got out I went to go stay at his house on the weekend,        23· ·A.· ·August 2001.
     24· · · · or when I was getting frustrated at my mom's growing          24· ·Q.· ·Was it August of 2021 or 2001?
     25· · · · up.· But I never like lived with him after that.              25· ·A.· ·2021.· I apologize.


                                                                   Page 11                                                           Page 13
     ·1· ·Q.· ·Sure.· Do you remember how old you were when you went         ·1· ·Q.· ·That's okay.· Now I want to ask you about your speech
     ·2· · · · to stay with him on the weekends?                             ·2· · · · disability.· Do you remember when you were diagnosed
     ·3· ·A.· ·Since I was 15 and up.                                        ·3· · · · with that?
     ·4· ·Q.· ·Do you have any children?                                     ·4· ·A.· ·No.
     ·5· ·A.· ·No.                                                           ·5· ·Q.· ·How about ADHD?· When you were diagnosed?
     ·6· ·Q.· ·Other than this lawsuit have you been involved in any         ·6· ·A.· ·Like when you say diagnosed, like what do you mean?
     ·7· · · · other lawsuits?                                               ·7· ·Q.· ·Did you ever have a doctor or a medical professional or
     ·8· ·A.· ·No.                                                           ·8· · · · someone else who works in mental health tell you that
     ·9· ·Q.· ·And don't tell me about any conversations that you had        ·9· · · · you have ADHD?
     10· · · · with your attorneys because that's privileged and             10· ·A.· ·I believe my doctors at the Family Health Center when
     11· · · · private, but what did you do to prepare for today's           11· · · · my mom used to take me.· Dr. Jackson, that was my
     12· · · · deposition?                                                   12· · · · doctor since I was a kid.· So since I turned 18 she was
     13· ·A.· ·Myself, I got some sleep last night.· We went over like       13· · · · my doctor.
     14· · · · questions.                                                    14· ·Q.· ·Do you remember when it was that you learned that you
     15· ·Q.· ·Did you review any paperwork?                                 15· · · · ADHD or you were diagnosed with ADHD?
     16· ·A.· ·No.                                                           16· ·A.· ·No, ma'am.
     17· ·Q.· ·Mr. Lewis, do you have any disabilities?                      17· ·Q.· ·I am sorry, could you repeat that?
     18· ·A.· ·Yes.                                                          18· ·A.· ·No, ma'am.
     19· ·Q.· ·What are those disabilities?                                  19· ·Q.· ·How about PTSD?· Do you remember when you were
     20· ·A.· ·I can't name them all off the top.· I know it's               20· · · · diagnosed with PTSD?
     21· · · · reading, reading disability, speech, ADHD,                    21· ·A.· ·No, but I remember Dr. Owens telling me I had it over
     22· · · · post-traumatic stress.· I forgot the rest of it.              22· · · · our exam.
     23· ·Q.· ·So to clarify, your disabilities are a reading                23· ·Q.· ·And that exam was again, in August of 2021?
     24· · · · disability, a speech disability, ADHD, and PTSD; is           24· ·A.· ·Yes, ma'am.
     25· · · · that right?                                                   25· ·Q.· ·Do you remember being diagnosed anytime before that



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